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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
vs.                                               )           No. 3:03-CR-0078-N (01)
                                                  )
ANDRE LYNN FORD, ID # 29802-177,                  )
         Defendant.                               )

              ORDER ACCEPTING FINDINGS AND RECOMMENDATION
                  OF THE UNITED STATES MAGISTRATE JUDGE

       After reviewing all relevant matters of record in this case in accordance with 28 U.S.C. §

636(b)(1), including the Findings, Conclusions, and Recommendation of the United States

Magistrate Judge and any objections thereto, the Court is of the opinion that the Findings and

Conclusions of the Magistrate Judge are correct and they are accepted as the Findings and

Conclusions of the Court.

       The Court hereby finds good cause under Fed. R. App. P. 4(b)(4) for an extension of time

for defendant to file his February 12, 2009 notice of appeal, and the defendant’s notice of appeal is

therefore timely. Notice is hereby given to the Fifth Circuit Court of Appeals of the finding of good

cause, the granting of an extension of time, and the resulting timeliness of the February 12, 2009

notice of appeal, and the case shall be returned to the Fifth Circuit Court of Appeals for further

proceedings on the timely-filed notice of appeal.

       SIGNED October 1, 2009.




                                              David C. Godbey
                                              United States District Judge
